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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:       THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
              THE HONORABLE GARY S. KATZMANN, JUDGE
              THE HONORABLE CLAIRE R. KELLY, JUDGE

AMERICAN INSTITUTE FOR INTERNATIONAL            )
STEEL, INC., SIM-TEX, LP, and KURT ORBAN        )
PARTNERS, LLC,                                  )
                                                )
      Plaintiffs,                               )       Court No. 18-00152
                    v.                          )
                                                )
UNITED STATES and KEVIN K. MCALEENAN,           )
Commissioner, United States Customs and         )
Border Protection,                              )
                                                )
      Defendants.                               )

                           DEFENDANTS’ REPLY
       IN SUPPORT OF THEIR MOTION FOR JUDGMENT ON THE PLEADINGS

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          IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

 BEFORE:        THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
                THE HONORABLE GARY S. KATZMANN, JUDGE
                THE HONORABLE CLAIRE R. KELLY, JUDGE

 AMERICAN INSTITUTE FOR INTERNATIONAL                         )
 STEEL, INC., SIM-TEX, LP, and KURT ORBAN                     )
 PARTNERS, LLC,                                               )
                                                              )
        Plaintiffs,                                           )      Court No. 18-00152
                       v.                                     )
                                                              )
 UNITED STATES and KEVIN K. MCALEENAN,                        )
 Commissioner, United States Customs and                      )
 Border Protection,                                           )
                                                              )
        Defendants.                                           )

                          DEFENDANTS’ REPLY
       IN SUPPORT OF ITS MOTION FOR JUDGMENT ON THE PLEADINGS

        Pursuant to United States Court of International Trade Rule 12(c) and the Court’s

 order dated October 16, 2018, defendants, the United States and Kevin K. McAleenan,

 Commissioner of U.S. Customs & Border Protection, respectfully submit this reply in

 support of our motion for judgment on the pleadings.

        It is well settled that Congress may delegate authority to another branch of

 Government as long as it provides “an intelligible principle to which the person or body

 authorized to [act] is directed to conform.” J.W. Hampton, Jr. Co. v. United States, 276

 U.S. 394, 409 (1928). While plaintiffs propose that the Court bifurcate its analysis in a

 manner never sanctioned by the Supreme Court, plaintiffs nonetheless do not dispute that

 Hampton provides the governing standard. Pl. Resp. at 8, 16. And, as the Supreme Court

 has already recognized, Section 232 of the Trade Expansion Act of 1962, 19 U.S.C.
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 § 1862, readily satisfies the “intelligible principle” test. Federal Energy Admin. v.

 Algonquin SNG, Inc., 426 U.S. 548, 558-60 (1976).

        Even if this case were a close one (and it is not), the limits on Congress’s

 delegation power are less stringent where the President has independent constitutional

 authority over the subject matter by virtue of his foreign affairs powers. Finally, while

 plaintiffs correctly observe that judicial review of the President’s exercise of discretion is

 unavailable, that has no bearing on the analysis of whether Section 232 is a permissible

 delegation of authority to the President. Plaintiffs’ contrary argument lacks merit.

                                        ARGUMENT

 I.     Algonquin Is Binding Supreme Court Authority That Requires
        Dismissal Of The Complaint

        The Supreme Court has already answered the sole question raised in plaintiffs’

 complaint: whether Section 232 constitutes a permissible delegation of authority to the

 President. Not only did the Supreme Court conclude that Section 232’s standards are

 “clearly sufficient to meet any delegation doctrine attack,” Algonquin, 426 U.S. at 559

 (emphasis added), the Court signaled that the question was not a close one. According to

 the Court, Section 232 “easily fulfills” the intelligible principle test. Id. Algonquin alone

 requires judgment in the Government’s favor.

        Faced with this case-dispositive precedent, plaintiffs attempt to recast the issue

 resolved in Algonquin as a narrow statutory one. Pl. Resp. at 4-6.1 As we previously




        1
           Plaintiffs’ analogy of its claim and the Algonquin decision to Reynolds v.
 United States, 565 U.S. 432 (2012), and a case pending before the Supreme Court, Gundy
 v. United States, No. 17-6086, is not apt. Pl. Resp. at 6. Plaintiffs argue that the Supreme
 Court’s examination of whether the Sex Offender Registration and Notification Act
 applied to certain individuals in Reynolds did not preclude a subsequent challenge to the
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 explained, Def. Mot. at 20-21, the Supreme Court decided the very constitutional

 question raised here. In the first section of its analysis, the Court framed the issue using

 nondelegation terms, analyzed it under the “intelligible principle” test articulated in J.W.

 Hampton, and resolved the question in unmistakable nondelegation terms, holding that

 “the standards that [the statute] provides the President in its implementation are clearly

 sufficient to meet any delegation doctrine attack.” 426 U.S. at 559.

        Nor was the Court’s nondelegation discussion dictum, as plaintiffs and amicus

 suggest. See Pl. Mot. at 29; Basrai Farms Amicus Br. at 7 n. 2. Because the Court

 interpreted Section 232 to authorize the President’s license fees, the Court was obligated,

 given plaintiffs’ arguments, to explain why its interpretation of Section 232 would not

 raise a nondelegation problem. Had the Court instead concluded that Section 232 did not

 authorize the license fees, the nondelegation discussion would have been unnecessary.

 Regardless of how one characterizes the Supreme Court’s analysis, Algonquin is binding

 authority that entitles the Government to judgment on the pleadings. See, e.g., Ins. Co. of

 the West v. United States, 243 F.3d 1367, 1372 (Fed. Cir. 2001); Faucher v. Federal

 Election Com., 928 F.2d 468, 470 (1st Cir. 1991) (in holding that it was bound to follow

 the Supreme Court’s dictum, explaining that “[w]e cannot accept that in resolving

 constitutional issues . . . the Supreme Court proclaims the law lightly”).

        Plaintiffs also seek to distinguish Algonquin on the basis that this case does not

 involve the President’s use of an import licensing scheme such as that challenged in

 Algonquin. Plaintiffs also argue that the remedies selected by the President allegedly




 statute on nondelegation grounds. The difference is, of course, that the Algonquin court
 squarely resolved the nondelegation challenge plaintiffs have brought.
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 have had “very significant adverse impacts.” Pl. Resp. at 5-6; see also Basrai Br. at 1;

 11-15. These arguments are not relevant to resolve what plaintiffs themselves

 characterize as a “facial non-delegation challenge” to the statute. Pl. Resp. at 6; see also

 Compl. Introd.; ¶ 32.

        “In a delegation challenge, the constitutional question is whether the statute has

 delegated legislative power to the agency.” Whitman v. Am. Trucking Assns, 531 U.S.

 457, 472 (2001) (emphasis added); see also Zemel v. Rusk, 381 U.S. 1, 6 (1965) (“in

 arguing invalid delegation, appellant has quite clearly assailed the statutes themselves”).

 Resolution of plaintiffs’ suit turns on the text and purpose of the statute because, as

 plaintiffs concede, Pl. Resp. at 7 n.2, even a narrow implementation of a statute cannot

 salvage an unconstitutional delegation.

         Nor is there any intervening change in the law that would permit this Court to

 ignore Algonquin. Plaintiffs suggest that this Court may disregard Algonquin because of

 the Supreme Court’s subsequent decisions in Dalton v. Spencer and Franklin v.

 Massachusetts, which affirmed that judicial review of the President’s discretionary

 determinations is unavailable. Pl. Resp. at 7. As we have explained, and plaintiffs have

 not rebutted, even before Algonquin, the President’s discretionary determinations

 generally were not susceptible to judicial review. Def. Mot. at 32-33 (citing United

 States v. George S. Bush & Co., 310 U.S. 371, 379-81 (1940)).

         This point is confirmed by the very case relied upon by the plaintiffs:

 “[L]ongstanding authority holds that” judicial review of a claim that “the President has

 violated a statutory mandate” “is not available when the statute in question commits the

 decision to the discretion of the President.” Dalton v. Spencer, 511 U.S. 462, 474 (1994)



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 (emphasis added). And, as we demonstrate in Section IV, the Supreme Court has never

 found the availability of judicial review to be relevant to the “intelligible principle”

 analysis. But even if it had, it is for the Supreme Court, not this Court, to revise its

 precedents in light of subsequent developments in the law: “[i]f a precedent of th[e

 Supreme] Court has direct application in a case, yet appears to rest on reasons rejected in

 some other line of decisions, the [subordinate court] should follow the case which

 directly controls, leaving to [the Supreme] Court the prerogative of overruling its own

 decisions.” Agostini v. Felton, 521 U.S. 203, 237 (1997). Until and unless that happens,

 Algonquin controls the disposition of this case.

 II.    Congress Has Delegated Power To The President Consistent
        With The “Intelligible Principle” Standard

        Even if the Court were to accept plaintiffs’ invitation to reexamine Section 232

 under nondelegation principles, the Court must still grant judgment in defendants’ favor.

 Applying the “intelligible principle” standard, the Supreme Court has “deemed it

 ‘constitutionally sufficient if Congress clearly delineates the general policy, the public

 agency which is to apply it, and the boundaries of this delegated authority.’” Mistretta v.

 United States, 488 U.S. 361, 372-73 (1989) (citing Am. Power & Light Co. v. Secs. &

 Exch. Comm’n, 329 U.S. 90, 105 (1946)). To identify the general policy and boundaries

 of a delegation, the Court may examine both the statutory language as well as the

 “purpose of the Act, its factual background and the statutory context in which they

 appear.” Am. Power & Light, 329 U.S. at 104.2




        2
            Acknowledging that neither decision addressed the nondelegation doctrine,
 plaintiffs nonetheless criticize the government for not addressing Clinton v. City of New
 York, 524 U.S. 417 (1998) or Sessions v. Dimaya, 138 S. Ct. 1204 (2018). Pl. Resp. at
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        Section 232 contains a “clearly delineate[d] general policy”: to avert the

 impairment of national security by adjusting imports of any articles that are found to

 impair, or threaten to impair, national security. The legislative history of the predecessor

 statute explained that it was “designed to give the President unquestioned authority” to

 take action “whenever danger to our national security results from a weakening of

 segments of the economy through injury to any industry, whether vital to the direct

 defense or a part of the economy providing employment and sustenance to individuals or

 localities.” S. Rep. No. 85-1838, 85th Cong. 2d at 5-6. Although the plaintiffs dispute

 that Congress has articulated a general policy, Pl. Resp. at 8, the statute clearly conveys

 Congress’s objective.

        As to the third prong, Congress has identified “clear preconditions to Presidential

 action.” Algonquin, 426 U.S. at 559. The President may act only upon receiving a report

 and recommendation from the Secretary of Commerce following an “investigation to

 determine the effects on the national security of imports of [an] article.” 19 U.S.C.

 § 1862(b)(1)(A). In conducting the investigation, the Secretary of Commerce must

 consult with the Secretary of Defense and other appropriate United States officials, as

 well as (if appropriate) hold public hearings or otherwise afford interested parties an

 opportunity to present information and advice relevant to the investigation. Id.

 § 1862(b)(2)(A). Within 90 days of receiving the report, the President must determine

 whether he concurs in the Secretary’s finding. Id. § 1862(c)(1)(A)(i). If the President

 concurs in the Secretary’s finding, and determines to adjust imports, the President must




 15-16. We do not dispute the general separation of powers principle for which plaintiffs
 cite these decisions.
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 implement that action within 15 days. Id. § 1862(c)(i)(B). The clarity of these

 preconditions cannot be meaningfully distinguished from the precondition that the

 President be “satisfied” that a foreign government was imposing “duties or other

 exactions” on products of the United States, which the President “deem[ed] to be

 reciprocally unequal and unreasonable” found to be constitutional in Marshall Field v.

 Clark, 143 U.S. 649, 683 (1892). See Pl. Resp. Br. at 13-14; Basrai Br. at 8.

         Further, Congress has articulated guidance for the President’s exercise of

 authority that is “sufficiently specific and detailed to meet constitutional requirements.”

 Mistretta, 488 U.S. at 374. Congress provided “a series of specific factors to be

 considered by the President in exercising his authority under § 232([c]).” Algonquin, 426

 U.S. at 559. Those factors are detailed, and include the domestic production needed for

 projected defense requirements, the capability of domestic industries to meet such

 requirements, and the import of goods affecting such industries. 19 U.S.C. § 1862(d).

         Section 232 also guides the President’s selection of the appropriate measures to

 address the national security threat. See Pl. Resp. at 10-11. The President is limited to

 taking actions that, in his judgment, “must be taken to adjust the imports of the article and

 its derivatives so that such imports will not threaten to impair the national security.” 19

 U.S.C. § 1862(c)(i)(A)(ii). This is not the same as delegating authority to take any

 action, see Pl. Resp. at 2-3; Basrai Br. at 3. While Section 232 grants significant

 discretion to the President in making his national security determinations and in the

 selection of measures to address national security threats, the Supreme Court specifically

 concluded that this “leeway . . . is far from unbounded.” Algonquin, 426 U.S. at 560.




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         That conclusion is further illustrated by Independent Gasoline Marketers Council,

 Inc. v. Duncan, 492 F. Supp. 614, 621 (D.D.C. 1980). There, the District Court for the

 District of Columbia set aside a conservation tax imposed on all oil, reasoning that

 Section 232’s authorization to adjust imports did not “authorize the President to impose

 general controls on domestically produced goods either through a monetary mechanism

 or through a quantitative device.” Id. at 618. But so long as the President’s actions have

 the effect of “adjust[ing] imports,” the President’s flexibility to select the best tools,

 including the ability to treat imports from different foreign countries differently, does not

 render the delegation boundless.

         Plaintiffs posit that courts have never “sanctioned a delegation of this breadth.”

 Pl. Resp. at 13. Setting aside Algonquin, which sanctioned the very statute challenged

 here, our opening brief provided examples of statutory delegations phrased in “sweeping

 terms,” Am. Trucking, 531 U.S. at 474, which were upheld against nondelegation

 challenges. Def. Mot. at 16-17. Plaintiffs seek to distinguish some of these statutes on

 the basis that the Executive’s authority to act in those instances was contingent upon

 “objective factors,” Pl. Resp. at 9-11. But even plaintiffs acknowledge that the guidelines

 set forth by Congress need not “be precise or mathematical formulae to be satisfactory in

 a constitutional sense.” Star-Kist Foods, Inc. v. United States, 275 F.2d 472, 481

 (C.C.P.A. 1959). Nor is Congress “confined to that method of executing its policy which

 involves the least possible delegation of discretion to administrative officers.” Yakus v.

 United States, 321 U.S.414, 425-26 (1944).

         United States v. Yoshida International demonstrates how broad a delegation may

 be and still meet the “intelligible principle” standard. 526 F.2d 560 (C.C.P.A 1975).



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 Yoshida addressed the President’s authority to act under the Trading With the Enemy Act

 (TWEA), which was conditioned on either the existence of war or a Presidential

 declaration of national emergency. 526 F.2d at 573. The statute authorized the President

 to “prevent” or “prohibit” the importation of “any” property in which “any” foreign

 country or a national thereof has “any” interest under “any” rule he prescribes, by means

 of instructions, licenses, “or otherwise.” Id. To address the economic crisis in 1971,

 President Nixon declared a period of national emergency and imposed a ten percent

 import duty under TWEA. Plaintiff, an importer of zippers from Japan, challenged the

 duty.

         The U.S. Court of Customs and Patent Appeals rejected Yoshida’s challenge that

 TWEA was an unconstitutional delegation of Congress’ authority to regulate foreign

 commerce. 526 F.2d at 584. The court found that the delegation, while broad, identified

 the constitutionally necessary boundaries—namely, the preconditions for Presidential

 action. Further, the delegation was to “regulate importation” through “instructions,

 licenses, or otherwise”, id. at 573, a delegation analogous to taking “action . . . to adjust

 the imports of the article.” Thus, plaintiffs fail to meaningfully distinguish Yoshida. See

 Pl. Resp. at 9-10.

         Plaintiffs complain that Section 232(d)’s direction that the President should not

 exclude “other relevant factors” when making his national-security determination renders

 Congress’s delegation limitless. Pl. Resp. at 10. But common sense and “[n]ecessity . . .

 fixes a point beyond which it is unreasonable and impracticable to compel Congress to

 prescribe detailed rules.” Algonquin, 426 U.S. at 560 (citing Am. Power & Light, 329




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 U.S. at 105). The impracticability of imposing detailed rules or formulas in the areas of

 foreign relations and national security is obvious.

        Particularly where, as here, the statute deals with national security and foreign

 affairs, even “a grant to the President which is expansive to the reader’s eye should not be

 hemmed in or ‘cabined, cribbed, confined’ by anxious judicial blinders.” Yoshida Int’l,

 526 F.2d at 571 (citing South Puerto Rico Sugar Co. Trad. Corp. v. United States, 334

 F.2d 622, 632 (Ct. Cl. 1965)).

        Moreover, the constitutionality of a delegation “depends not upon the breadth of

 the definition of the facts or conditions upon which the administrative officer is to find

 but upon the determination whether the definition sufficiently marks the field within

 which the Administrator is to act so that it may be known whether he has kept within it in

 compliance with the legislative will.” Yakus, 321 U.S. at 414. Section 1862(d) limits the

 President’s consideration to factors that are relevant to the impairment of national

 security.

        Plaintiffs’ other complaint is that Congress did not specifically direct the

 President to examine “the inevitable impacts” the action might have on other aspects of

 the domestic economy. Pl. Resp. at 12-13. But their plea that additional factors or

 constraints would help the President make a more informed decision is not a

 constitutional problem, but a “challenge[ to] the wisdom of a legitimate policy judgment

 made by Congress,” Touby v. United States, 500 U.S. 160, 168 (1991). And the Supreme

 Court has “‘almost never felt qualified to second-guess Congress regarding the

 permissible degree of policy judgment that can be left to those executing or applying the

 law.’” Am. Trucking, 531 U.S. at 474-75 (quotation omitted).



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        American Trucking underscores the permissibility of broad delegations to the

 Executive that have the potential to impact the national economy. The delegation there

 was a grant of authority to the Administrator of the Environmental Protection Agency to

 set national ambient air quality standards for crucial air pollutants, authority with

 extensive ramifications for public health and an equally enormous impact on the

 economy. 531 U.S. at 475. The Supreme Court did not express any concern about the

 scope of the authority delegated, after concluding that the legislation contained a

 sufficient intelligible principle. The Court noted that “even in sweeping regulatory

 schemes we have never demanded that statutes provide a ‘determinative criterion’ for

 saying ‘how much [of the regulated harm] is too much.” Id.

        In contrast, Section 232’s delegation bears no resemblance to the provisions found

 to violate the nondelegation doctrine in Panama Refining Co. v. Ryan, 293 U.S. 388

 (1935), and A. L. A. Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935). See

 Basrai Br. at 6-10. The fatal flaw the Court identified in each provision was that

 “Congress had failed to articulate any policy or standard that would serve to confine the

 discretion of the authorities to whom Congress had delegated power.” Mistretta, 488

 U.S. at 373 n.7 (emphasis added). In light of the clear policy to protect national security,

 the procedural requirements and the extensive list of factors Congress provided in Section

 232(d), the statute sufficiently cabins the President’s discretion to comply with the

 nondelegation doctrine.

 III.   The President’s Independent Authority In Matters of National Security And
        Foreign Affairs Is Relevant To The Non-Delegation Inquiry

        The President’s independent constitutional authority over the subject matter

 covered by Section 232 further confirms the constitutionality of the statute. In our

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 opening brief, we explained that heightened deference is owed to congressional

 delegations touching on foreign affairs and national security. Def. Mot. at 27-30.

 Plaintiffs dispute the relevance of the President’s independent authority to their non-

 delegation challenge. Pl. Resp. at 15, 19. In so doing, plaintiffs ignore the Supreme

 Court’s recognition that the limits on Congress’s delegation power are “less stringent in

 cases where the entity exercising the delegated authority itself possesses independent

 authority over the subject matter.” United States v. Mazurie, 419 U.S. 544, 556-57

 (1975); see Loving v. United States, 517 U.S. 748, 772-73 (1996).

        Thus, even a delegation to the Executive that might otherwise be improper if

 confined to internal affairs may “nevertheless be sustained on the ground that its

 exclusive aim is to afford a remedy for a hurtful condition within foreign territory.”

 United States v. Curtiss-Wright Corp., 299 U.S. 304, 315 (1936); see also Freedom to

 Travel Campaign v. Newcomb, 82 F.3d 1431, 1438 (9th Cir. 1996) (same); Owens v.

 Republic of Sudan, 531 F.3d 884, 891 (D.C. Cir. 2008) (same).

        Seeking to avoid this principle, plaintiffs dispute Section 232’s nexus to foreign

 affairs or national security. Plaintiffs argue instead that “the focal point of section 232 is

 the protection of the domestic industry.” Pl. Resp. at 13; see also Basrai Br. at 10-11.

 Any claim that Section 232 is directed solely to domestic affairs or economic policy is

 easily dispatched. The statute, entitled “Safeguarding national security,” requires the

 Secretary and the President to determine whether imports of an article are impairing, or

 threatening to impair, “national security.” 19 U.S.C. § 1862. If the President reaches that

 conclusion, the President is directed to take action to adjust imports of articles that

 “threaten to impair the national security.” Id. § 1862(c)(1)(ii).



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        Beyond the recognition of the economy as the obvious source of funds, materiel,

 and personnel for national defense needs, Congress understood the close link between

 national security and the health of our national economy (and, in particular, domestic

 production of certain articles). Section 232(d) makes that nexus explicit by requiring the

 President to consider “the close relation of the economic welfare of the Nation to our

 national security.” In enacting Section 232’s predecessor, Section 8 of the Trade

 Agreement Extension of 1958, Pub. L. No. 85–686, 72 Stat. 673, 678 (1958), which

 included the economic factors now codified at 19 U.S.C. § 1862(d), Congress signaled

 that “the President must take into consideration the effect on the national security of a

 weakening of the general economy by excessive imports of competitive products.” S.

 Rep. No. 85-1838, 85th Cong. 2d Sess. at 2 (1958) (emphasis added).3 To the extent that

 plaintiffs dispute Congress’s recognition in Section 232(d) that “national security” is

 linked to the health of our national economy, Pl. Resp. at 3, they ask this Court to second-

 guess Congress’s judgment and guidance to the President in making a national security

 determination.

        Further, adjustment of imports (the action that Section 1862(c)(1)(ii) authorizes

 the President to take) necessarily implicates the President’s independent foreign affairs

 authority. Curtiss-Wright Export Corp., 299 U.S. at 320; Norwegian Nitrogen Products




        3
            The nexus between national security and the health of the domestic economy is
 further illustrated by another statute, the Defense Production Act of 1950. That statute
 authorizes the President to review certain business transactions with foreign nationals “to
 determine the effects of the transaction on the national security of the United States.” 50
 U.S.C. § 2170(b)(1)(A). Directing the Executive to evaluate some of the same factors as
 set forth in Section 232, Congress authorizes the President to “take such action for such
 time as the President considers appropriate to suspend or prohibit any covered transaction
 that threatens to impair the national security of the United States.” Id. § 2170(d)(1), (2).
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 Co. v. United States, 288 U.S. 294, 305 (1933); Yoshida, 526 F.2d at 580 (“That the

 surcharge herein had overtones of foreign relations and foreign policy seems self-

 evident”). Plaintiffs’ characterization of the delegated power as the power to set tariffs,

 Pl. Resp. at 15, is inconsistent with the language of the statute.

 IV.    The Limited Availability Of Judicial Review Does Not Alter the Constitutional
        Analysis

        The lack of judicial review over the President’s discretionary determinations in

 matters of foreign affairs and national security fails to create a nondelegation problem.

 Pl. Resp. at 17-21. The only constitutional requirement is that Congress provide an

 intelligible principle to guide the exercise of the delegated authority. Am. Trucking, 531

 U.S. at 472. That is because the nondelegation doctrine derives from “the understanding

 that Congress may not delegate the power to make laws.” Loving, 517 U.S. at 771.

 Whether or not a given power is “legislative” or constitutes “the power to make laws”

 under Article I of our Constitution has nothing to do with whether the exercise of that

 power is subject to judicial (or any other) review.

        Without clearly articulating the connection, plaintiffs assert that the availability of

 judicial review is “important” to the nondelegation inquiry. Pl. Resp. at 19. Plaintiffs

 rely upon American Power & Light and Justice Rehnquist’s concurrence in Industrial

 Union Dept., AFL-CIO v. Am. Petroleum Inst., 448 U.S. 607, 686 (1980). But neither

 case held that judicial review is invariably necessary for a conferral of authority on the

 Executive Branch to be constitutional.

        Industrial Union was not decided on nondelegation grounds, but because the

 agency action exceeded its statutory authority. 448 U.S. at 659. Justice Rehnquist

 concurred in the judgment, because he would have found that the statute was an

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 unconstitutional delegation of authority. 448 U.S. at 672. Justice Rehnquist explained

 that a “derivative” function of the nondelegation doctrine was to “ensure[] that courts

 charged with reviewing the exercise of delegated legislative discretion will be able to test

 that exercise against ascertainable standards.” Id. at 686. Similarly, the Court in

 American Power & Light observed that the articulation of guidance and standards can

 facilitate judicial review. 329 U.S. at 105. But in neither decision did the

 constitutionality of the statute hinge on the availability of judicial review.

        Plaintiffs further assert that, “in virtually every case in which there has been a

 delegation challenge, judicial review of the merits . . . ha[s] been available.” Pl. Resp. at

 18. Plaintiffs fail to take account of cases upholding broad delegations of authority, even

 when judicial review was not available. In United States ex rel. Knauff v. Shaughnessy,

 338 U.S. 537 (1950), the Supreme Court upheld the statutory grant of authority to the

 President, delegated to the Attorney General, to impose restrictions and prohibitions on

 persons’ entry into and departure from the United States when he determined that the

 public interest of the United States so required. 338 U.S. at 543-44. The Court

 concluded that Congress’s broad authorization was constitutionally acceptable, even

 though the Executive’s exclusion decisions applying that standard were not subject to

 judicial review. Id. at 543. Similarly, the Federal Circuit sustained a statute as a

 constitutional delegation of authority to the President, while at the same time

 acknowledging that the President’s discretionary determination was not subject to judicial

 review. Florsheim Shoe Co., Div. of Interco, Inc. v. United States, 744 F.2d 787, 796

 (Fed. Cir. 1984).




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         Judicial review can provide an important “check” on the power delegated by

 Congress. Pl. Resp. at 19; see Touby, 500 U.S. at 167-69. But that “check” may also be

 accomplished by Congress itself. Yakus, 321 U.S. at 426 (“[t]he standards prescribed by

 the Act … are sufficiently definite and precise to enable Congress, the courts and the

 public to ascertain whether the Administrator . . . has conformed” to them). In other

 words, the intelligible principle test facilitates accountability generally, even if judicial

 review is limited or unavailable. Even where judicial review is available, that check has

 never encompassed second-guessing the President’s discretionary determinations. Pl.

 Resp. at 20.

         Plaintiffs argue that “there is no case in which judicial review of the significant

 discretionary determinations, such as those made by the President under section 232, has

 been precluded and a court has concluded that such preclusion is of no significance.” Pl.

 Resp. at 18-19. But a substantial body of law recognizes that the Executive’s

 discretionary determinations, particularly in the areas of foreign affairs and national

 security, may not be subject to judicial review. See, e.g., Heckler v. Cheney, 470 U.S.

 821, 830 (1985) (“[R]eview is not to be had if the statute is drawn so that a court would

 have no meaningful standard against which to judge the agency’s exercise of

 discretion.”); Dalton, 511 U.S. at 462; Haig v. Agee, 453 U.S. 280, 292 (1981) (matters

 closely related to national security are “rarely proper subjects for judicial intervention”);

 see also Motion Sys. Corp. v. Bush, 437 F.3d 1356, 1361 (Fed. Cir. 2006) (en banc). In

 none of those cases did the Supreme Court find that the absence of judicial review

 created a constitutional problem.




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         The Ninth Circuit has rejected an argument very similar to that raised by the

 plaintiffs. In United States v. Bozarov, the defendant was charged with exporting

 software equipment without an export license, in violation of the Export Administration

 Act. 974 F.2d 1037, 1039 (9th Cir. 1992). The Export Administration Act authorized the

 Department of Commerce to set export controls and to issue licenses for exports. Judicial

 review of Commerce’s actions taken under the Act was explicitly precluded. Id.

         The defendant challenged the Export Administration Act as an unconstitutional

 delegation of legislative authority, identifying the lack of judicial review as a basis for its

 challenge. 974 F.2d at 1041. Reviewing Supreme Court decisions addressing statutes

 that precluded judicial review, as well as the Administrative Procedure Act itself, the

 court noted that “the fact that the [Supreme] Court and Congress both accept that judicial

 review may be unavailable at least suggests that the availability of review is not always a

 constitutional necessity.” Id. at 1042. The court also found nothing in cases such as

 Yakus, Touby, and Skinner v. Mid-America Pipeline Co., 490 U.S. 212, 218 (1989) that

 could be read to stand for the “proposition that judicial review is always constitutionally

 required” to survive a nondelegation challenge. Id. The court further acknowledged that

 “broad delegations are appropriate in the foreign policy arena because of the political

 nature of the decisions and the compelling need for uniformity.” Bozarov, 974 F.2d at

 1044.




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                                      CONCLUSION

        For the reasons provided here and in our opening motion, we respectfully request

 that the Court enter judgment in favor of the defendants and dismiss the complaint.

                                              Respectfully submitted,

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                            CERTIFICATE OF COMPLIANCE

         Pursuant to Standard Chambers Procedure ¶ 2(B)(2), I hereby certify that this
 brief complies with the word-count limitation set forth in Standard Chambers Procedure
 ¶ 2(B)(1). In making this certification, I have relied upon the word count function of the
 Microsoft Word processing system used to prepare this brief. According to the word
 count, this brief contains 4586 words.

                                     s/Tara K. Hogan
                                    TARA K. HOGAN
                                    November 9, 2018




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